                         UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE NASHVILLE
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IAN HUNTER LUCAS, pro se                                  :             3:24-cv-00440
                                   Plaintiff(s),          :
                                                                         Judge Waverly D. Crenshaw, Jr
                           v.                             :
                                                                         Magistrate Judge Jeffery S. Frensley
MARY ANN JESSEE et al.,                                   :
                                   Defendant(s).          :
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   PLAINTIFF 'S MOTION/ TO STRIKE DOC NO. 41, 54, 55, 56, FROM THE PLEADINGS
                UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(f)
       Pursuant to Federal Rule of Civil Procedure 12(f), Plaintiff, pro se, respectfully moves to strike

from the pleadings, Doc. No. 54 (Motion to Seal), Doc. No. 55 (Motion to File Document Under Seal),

and Doc. No. 56 (Change in Venue). Doc. No. 54 (Motion to Seal) and Doc. No. 55 (Motion to File

Document Under Seal) were intended to be filed by the Plaintiff through the CE/ECF system;

unfortunately, a technical error prevented the Plaintiff from successfully filing a document under seal.

Therefore, Plaintiff will file this motion for an in-camera review and the proposed sealed document at

the clerk's window.

      Doc. No. 56 (Change in Venue) appears to have encountered a technical error during upload. In

order to ensure the integrity of the court records and the fairness of the proceedings, Plaintiff

respectfully requests that Doc. No. 56 be stricken. A corrected motion will be promptly submitted at the

clerk's window or uploaded as appropriate.

         DATED this 30th day of May 2024, with all rights of Ian Hunter Lucas explicitly reserved

                  Respectfully Submitted,
                                            __________________________
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                                               PROOF OF SERVICE
I hereby certify that a true and correct copy of the foregoing Plaintiff's Motion for Leave to File an
Amended Complaint and any accompanying documents were served by Court's CM/ECF system, which
automatically forwarded a copy to the following counsel of record

/s/ Ian Hunter Lucas
_______________________________
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